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                               UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF VIRGINIA
                                    Charlottesville Division


   ELIZABETH SINES, et. al.,

                          Plaintiffs,

   v.                                                             Civil Action No.: 3:17CV00072

   JASON KESSLER, et. al.,

                          Defendants.

                  DEFENDANT FIELDS’ PROPOSED JURY INSTRUCTIONS

          COMES NOW JAMES ALEX FIELDS, by and through Counsel, and submits his

   proposed jury instructions:



          1. PRELIMINARY INSTRUCTIONS

                  a. Fields adopts all proposed jury instructions submitted by co-Defendant

                      Kessler via counsel.



          2. DAMAGES INSTRUCTIONS

              -   DAMAGES Model Federal Jury Instructions – Civil P77-1

              If the plaintiff has proven by a preponderance of the credible evidence that defendant

              is liable on the plaintiff’s claim, then you must determine the damages to which the

              plaintiff is entitled. However, you should not infer that the plaintiff is entitled to

              recover damages merely because the Court is instructing you on the elements of

              damages. It is exclusively your function to decide upon liability, and the Court is

              instructing you on damages only so that you will have guidance should you decide

              that the plaintiff is entitled to recovery.
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            -   MULTIPLE CLAIMS – MULTIPLE DEFENDANTS Model Federal Jury

                Instructions – Civil P77-2 Modified.

            You should not award compensatory damages more than once for the same injury.

            For example, if a plaintiff were to prevail on two claims and establish a one dollar

            injury, you could not award him one dollar compensatory damages on each claims –

            he or she is only entitled to be made whole again, not to recover more than he or she

            lost. If different injuries are attributed to the separate claims, then you must

            compensate him or her fully for all of the injuries.

            With respect to punitive damages, you may make separate awards on each claim that

            is established.

            You must be careful to impose any damages that you award on a claims solely upon

            the defendant or defendants who you find to be liable on that claims. Although there

            are multiple defendants in this case, it does not follow that if one is liable, all or any

            one of the others are liable as well. Each defendant is entitled to fair, separate and

            individual consideration of the case without regard to your decision as to the other

            defendants.
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            -   COMPENSATORY DAMAGES Model Federal Jury Instructions – Civil

                P77-3

            The purpose of the law of damages is to award, as far as possible, just and fair

            compensation for the loss, if any, which resulted from the defendant’s violation of the

            palintiff’s rights. If you find that the defendant is liable on the claims, then you must

            award the plaintiff sufficient damages to compensate him or her for any injury

            proximately caused by the defendant’s conduct.

            These are known as “compensatory damages.” Compensatory damages seek to make

            the plaintiff whole – that is to compensate him or her for the damage suffered.

            You may award compensatory damages only for injuries that a plaintiff proves were

            proximately caused by a defendant’s allegedly wrongful conduct. The damages that

            you award must be fair and reasonable, neither inadequate nor excessive. You should

            not award compensatory damages for speculative injuries, but only for those injuries

            that a plaintiff has actually suffered or which he or she is reasonably likely to suffer in

            the near future.

            In awarding compensatory damages, if you decide to award them, you must be guided

            by dispassionate common sense. Computing damages may be difficult, but you must

            not let that difficulty lead you to engage in arbitrary guesswork. On the other hand,

            the law does not require a plaintiff to prove the amount of his or her losses with

            mathematical precision, but only with as much definiteness and accuracy as the

            circumstances permit.

            In all instances, you are to use sound discretion in fixing an award of damages,

            drawing reasonable inferences where you deem appropriate from the facts and

            circumstances in evidence.
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            -   PUNITIVE DAMAGES Model Federal Jury Instructions – Civil P77-5


            If you should find that the defendant is liable for the plaintiff’s injuries, then you have

            the discretion to award, in addition to compensatory damages, punitive damages. You

            may award punitive damages if the plaintiff proves by a preponderance of the evidence

            that the defendant’s conduct was malicious and reckless, not merely unreasonable. An

            acts is malicious and reckless if it is done in such a manner, and under such

            circumstances, as to reflect utter disregard for the potential consequences of the act on

            the safety and rights of others. The purpose of punitive damages is to punish a

            defendant for shocking conduct and to set an example in order to deter him or her and

            others from committing similar acts in the future.


            The awarding of punitive damages is within your discretion – you are not required to

            award them. Punitive damages are appropriate only for especially shocking and

            offensive misconduct. If you decide to award punitive damages, you must use sound

            reason in setting the amount – it must not reflect bias, prejudice, or sympathy toward

            any party. But the amount may be as large as you believe is necessary to fulfill the

            purpose of punitive damages. In this regard, you may consider the financial resources

            of the defendant in fixing the amount of punitive damages. And you may impose

            punitive damages against one or more of the defendants, and not others, or against more

            than one defendant in different amounts.
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            -   MITIGATION OF DAMAGES Model Federal Jury Instructions – Civil P77-

                7 Modified.

            You are instructed that any person who claims damages as a result of an alleged

            wrongful act of another has a duty under the law to use reasonable diligence under the

            circumstances to “mitigate,” or minimize, those damages. The law imposes on an

            injured person the duty to take advantage of reasonable opportunities he or she may

            have to prevent the aggravation of his or her injuries, so as to reduce or minimize the

            loss or damage.

            If you find the defendant is liable and that the plaintiff has suffered damages, the

            plaintiff may not recover for any item of damage he or she could have avoided

            through such reasonable effort. I the plaintiff unreasonably failed to take advantage

            of an opportunity to lessen his or her damages, you should deny recovery for those

            damages which he or she would have avoided had he or she taken advantage of the

            opportunity.




                                                      Respectfully submitted,


                                                      JAMES ALEX FIELDS, JR.
                                                      By Counsel
                                                      ________/S/_________________________
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                                     CERTIFICATE OF SERVICE


           I hereby certify that on __12__th day of October, 2021, I electronically filed the foregoing
   with the Clerk of Court using the CM/ECF system which will send notification to all ECF
   participants and that parties requiring service by other means were served as follows:
   Christopher Cantwell
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   Robert Azzmador Ray
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                                                        ________/S/_________________________
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